Case 2:04-cr-20062-SH|\/| Document 41 Filed 06/02/05 Page 10f2 P

  

IN THE U'NITED STATES DISTRICT COURT
FOR TI'IE W'ESTERN DISTRICT OF TENN'ESSEELEDB

 

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Plaintiff,

V. CR. NO. 04-20062-Ma

MARIO MEANS ,

Defendant.

 

ORDER DIRECTING CLERK TO ISSUE WRIT OF HABEAS CORPUS

 

This matter is set for a re-sentencing hearing on
Fridayc June 10l 2005 at 10:30 a.m. The defendant, Mario Means,
#19519-076, is confined as a prisoner at Federal Correctional
Institution, Memphis, Tennessee. It is necessary to have Mario Means
appear in this court for the hearing.

IT IS THEREFORE ORDERED that the Clerk of Court issue a writ of
habeas corpus ad testificandum to the United States Marshal for the
Western District of Tennessee, and to the Warden, Federal
Correctional Institution, Memphis, Tennessee, to have said Mario

Means before this court for the hearing.

JM/°"L/

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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June , 2005.

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 41 in
case 2:04-CR-20062 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

